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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

UNITED STATES OF AMERICA             §
                                     §
VS.                                  §      ACTION NO. 4:20-CR-269-Y
                                     §
ERIC PRESCOTT KAY (1)                §

      ORDER DENYING MOTION FOR SUBMISSION OF JUROR QUESTIONNAIRE

        Pending before the Court is Defendant's Motion for Court to

Submit Written Questionnaire to Potential Jurors (doc. 36).           After

review, the Court concludes that the motion should be DENIED.

        The Court does not believe that the submission of a questionnaire

to the jury panel is necessary to ensure that a fair and impartial

jury is selected in this case.       Rather, prior to the commencement

of jury selection, the attorneys will be presented with an information

sheet about the panel members with basic information, such as the

city in which each lives, his occupation, marital status, and, if

applicable, his spouse's marital status.            The Court will then

initially conduct voir dire, inquiring about the panel members'

backgrounds, experiences with the judicial system, possible knowledge

of the case and the attorneys and parties involved, the extent to

which each has seen pretrial publicity regarding the case, and the

like.     Counsel will then be permitted a brief opportunity to ask

additional or follow-up questions. If inquiries are made on sensitive

subjects, the Court will permit any panel member so desiring to

approach the bench for private voir dire regarding that subject.

The Court believes this procedure will sufficiently ensure the

selection of a fair and impartial jury in an efficient manner.

        Nevertheless, the Court will entertain asking during its portion
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of voir dire any questions that the parties might prefer to be asked

of the panel by the Court rather than counsel. Any party who wishes

to file such a list should keep it brief and file it no later than
November 1, 2021.

     SIGNED August 26, 2021.

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                                        TERRY R. MEANS
                                        UNITED STATES DISTRICT JUDGE
